 

Case 3:11-cv-01130-I\/||\/|H-.]RK Document 2 Filed 11/15/11 Page 1 of 4 Page|D 42
3a1 l£v» 1150 »;r» ime/c

IN THE CIRCUIT COURT, FOURTH
JUDICIAL CIRCUlT, lN AND FOR
DUVAL COUNTY, FLORIDA

CASE NO.: l6-2011-CA-008047
DIVISION: CV-C
PATRICK P. SPETH, an individual,

Plaintiff,
vs.

U.S. XPRESS, INC., a foreign
corporation; and SMITH & SON
SEAFOOD, INC.; a foreign corporation;

Fllml

057 2 8 2011
w ;'

ule

   
   

~.,`__.`

cLERK C
Defendants. i ;

 

WMW

The PlaintiH`, by and through undersigned counsel, files this Complaint against the

Defendants and allege as follows:
GENERAL ALLEGAT!ONS

l. This is an action for damages in excess of $l 5,000.00.

2. That at all times material hereto, the Plaintiff, Patrick P. Speth, was a resident of
Jacksonville. Duva] County, Florida.

3. At all times material hereto, the U.S. Xpress, lnc., was a foreign corporation with
its principal address at 4080 .lcnkins Road, Chattanooga, Tennessee.

4. At all times material hereto, the Defendant, Smith & Son Seafood, lnc., was a
foreign corporation with its principal place of business in Darien, Georgia.

5. That the collision giving rise to this litigation occurred on .lanuary 17, 2011 at

approximately 6:50 p.m., on 1-95 Northbound, Duval County, Florida.

Case 3:11-cv-01130-I\/||\/|H-.]RK Document 2 Filed 11/15/11 Page 2 of 4 Page|D 43

6. That on January, 17, 201 l, Cyrus Blaylee Tarlue, while in the course and scope of
his employment with Defendant, U.S. Xpress, lnc., was operating a tractor trailer owned by said
Defendant with its permission and consent.

7. That as employer of Cyrus Blaylee Tarlue, Defendant U.S. Xpress, lnc., is liable
for his negligent acts while in the course and scope of his employment

8. That at all times material hereto Cyrus Blaylee Tarlue had a duty to operate the
tractor trailer with reasonable care for other motorists such as the Plaintif`f`.

9. That Cyrus Blaylee Tarlue negligently breached that duty when he collided with
the side of Plaintifi’s vehicle while making a lane change.

10. That on January 17, 2011, William Joseph Williamson was operating a vehicle
owned by Smith & Son Seafood, lnc., while in the course and scope of his employment with
Defendant, Smith & Son Seaf`ood, lnc.

11. That as employer of William Joseph Williamson, the Defendant Smith & Son
Seafood, lnc., is liable for his negligent acts while in the course and scope of his employment.

12. That at all times material hereto William Joseph Williamson, had a duty to
operate the vehicle with reasonable care for other motorists such as the Plaintiff.

13. That William Joseph Williams, negligently breached that duty when he collided
with the Plaintifi"s vehicle.

COUNT l

Plaintiff, Patrick P. Speth realleges paragraphs one through three and give through nine
as if stated herein and further alleges:

l4. That on or about January 27, 201 1, Cyrus Blaylee Tarlue while in the course and
scope of his employment with U.S. Xpress. lnc, negligently operated a truck tractor by changing

lanes and colliding with Plaintifl"s vehicle.

Case 3:11-cv-01130-I\/||\/|H-.]RK Document 2 Filed 11/15/11 Page 3 of 4 Page|D 44

15. As a direct and proximate result of the aforesaid negligence Plaintiff, Patrick P.
Speth suffered bodily injury and resulting pain and suffering, disability, disflgurement, mental
anguish, inconvenience, loss of capacity for the enjoyment of life. expense of hospitalization.
medical and nursing care and treatment, loss of eamings, loss of ability to earn money and
aggravation of a previously existing condition. The losses are either permanent or continuing and
plaintiff will suffer the losses in the future. Plaintiff, Patrick P. Speth, has sustained permanent
injuries within a reasonable degree of medical probability.

WHEREFORE, Plaintiff, Patrick P. Speth, demands judgment for damages and costs
against Defendant, U.S. Xpress Leasing of Tennessee, lnc. and a trial by jury of all issues herein.
CGUN'I' ll

Plaintiff, Patrick P. Speth, realleges paragraphs one, two, four, five and ten through
thirteen as if stated herein and further alleges:

16. At the date and time specified above, William Joseph Williamson, negligently
operated a motor vehicle while in the course and scope of his employment with Smith & Son
Seafood, lnc. with its knowledge and consent causing the subject collision.

17. As a direct and proximate result of the negligence of the Defendant, Smith & Son
Seafood, lnc., Plaintiff. Patrick P. Speth suffered bodily injury and resulting pain and sufi`ering.
disability, disfigurement, mental anguish, loss of capacity for the enjoyment of life, expense of
hospitalization, medical and nursing care and treatment, loss of eamings, loss of ability to earn
money and aggravation of a previously existing condition. The losses are either permanent or
continuing and plaintiff will suffer the losses in the future. Plaintiff, Patrick P. Speth, has

sustained permanent injuries within a reasonable degree of medical probability.

Case 3:11-cv-01130-I\/||\/|H-.]RK Document 2 Filed 11/15/11 Page 4 of 4 Page|D 45

WHEREFORE, Plaintiff, Patrick P. Speth, demands judgment for damages and costs
against Defendant, Smith & Son Seafood, Inc., and a trial by jury of all issues herein.

FARAH & FARAH, P.A.

<.1

 

 

erty, Esq.
Florid ar No.: 435090
10 West Adams, Suite 300
.lacl<sonville, FL 32202
Telephone (904) 358-8888
Facsimile (904) 358-2424
Attorney for PlaintiH`

 

